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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION


UNITED STATES OF AMERICA,
                                                       No. 4:19-cr-00172-RGE-HCA-2
       Plaintiff,
                                                      ORDER SETTING SENTENCING
v.
                                                          AND DEADLINES RE:
                                                            SUBMISSION OF
RUBY KATHERINE MONTOYA,
                                                        SENTENCING MATERIALS
       Defendant.


       The parties involved shall appear before the Court for Defendant Ruby Katherine

Montoya’s sentencing hearing on September 21, 2022, at 10:00 a.m. in Des Moines – Room 265

– 2nd Floor before United States District Judge Rebecca Goodgame Ebinger.

       The United States Probation Office shall update the presentence report and shall disclose

it to the parties by no later than August 26, 2022.

       By no later than September 2, 2022, counsel shall file with the Court any objections to the

altered portions of the updated presentence report. If a party has no objections to the updated

presentence report, a statement indicating such shall be filed by this same date. The United States

Probation Office shall respond to any objections by no later than September 9, 2022.

       By no later than September 7, 2022, the Government shall file a memorandum of law as to

the supplemental objections. By no later than September 14, 2022, Montoya shall file her response

to the Government’s memorandum of law as to the supplemental objections.

       Additionally, by no later than September 7, 2022, Montoya shall file revised sentencing

exhibits.

       IT IS SO ORDERED.

       Dated this 15th day of August, 2022.
